
The Petition for Discretionary Review filed by the State of North Carolina in this case on 6 August 2018 is decided as follows: The State's petition is allowed for the limited purpose of remanding this case to the Court of Appeals for the purpose of reconsidering defendant's challenge to the validity of the habitual felon indictment returned against him in this case in light of this Court's decision in State v. Langley, --- N.C. ----, 817 S.E.2d 191 (2018), with the Court of Appeals' proceeding on remand to include consideration of any aspect of defendant's challenge to the habitual felon indictment that was not reached during the Court of Appeals' initial consideration of this case.
By order of the Court in conference, this the 5th day of December, 2018.
